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                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF TEXAS
                            DALLAS DIVISION

DAVID TYSON, JR.,                          §
                                           §
              Plaintiff,                   §
                                           §
v.                                         §   Civil Action No. 3:18-CV-0212-K
                                           §
RICHARDSON INDEPENDENT                     §
SCHOOL DISTRICT, et al.,                   §
                                           §
              Defendants.                  §

                                       ORDER

        The Court, having reviewed the mediation reports of both parties, ORDERS the

following amendments to the Scheduling Order issued on May 23, 2018 (Doc. No.

22). All other deadlines not addressed in this Order remain in effect.

     1. The parties are ordered to complete a second mediation with their jointly

        designated mediator, Hon W. Royal Furgeson, no later than December 14,

        2018. The parties must file a Mediation Report describing the status of

        settlement negotiations no later than December 21, 2018.

     2. All discovery, including discovery concerning expert witnesses, shall be

        completed by January 21, 2019.

     3. All motions that would dispose of all or any part of this case (including all

        motions for summary judgment), shall be filed by February 25, 2019.



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   4. All motions challenging or seeking to disqualify expert witnesses (e.g., Daubert

      motions) must be filed by February 25, 2019.

      Barring extraordinary circumstances, the Court will not entertain any requested

extensions to any deadline.

      SO ORDERED.

      Signed November 16th, 2018.




                                       ______________________________________
                                       ED KINKEADE
                                       UNITED STATES DISTRICT JUDGE




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